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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

KRISTINA LOUGHLIN, }
Individually and on )
Behalf of All Others )
Similarly Situated , )
PLaanesEES, C.A. No. 20-11555-MLW
Vv. )
)
VI-JON, LLC, )
Defendant. )
MEMORANDUM AND ORDER
WOLF, D.J. March 29, 2024
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I. SUMMARY

Plaintiff Kristina Loughlin has brought this putative class
action on behalf of herself and Massachusetts consumers who, within
four years of the initial filing on August 26, 2020, purchased
hand sanitizer ("Germ-X" or the "Product")! manufactured by
defendant Vi-Jon, LLC ("Vi-Jon"). The front label of each Germ-X
bottle states that Germ-X "kills 99.99% of germs*"2 (the
"Representation"). The back label includes an asterisked more
limited claim that Germ-X kills "*99.99% of many common harmful
germs.”

Loughlin alleges that the Representation is deceptive and
leads reasonable consumers to believe that Vi-Jon's Products are
more effective at killing germs than they actually are. Loughlin
also alleges that the deceptive Representation on Vi-Jon's Product
labels caused her and members of the class she seeks to represent
to buy the Products or pay more for them than they otherwise would.

Therefore, Loughlin alleges that Vi-Jon has violated M.G.L.

1 Vi-Jon manufactures hand sanitizer under the "Germ-X" brand name,
as well as under various store-brand and private label brand names.
All hand sanitizers manufactured by Vi-Jon are referred to as the
"Products."

2 The Representation is written in capital letters on the Products,
but it is written in lowercase letters throughout this Memorandum
and Order.

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c. 93A, §2, which prohibits false or deceptive acts or conduct in
the sale of goods.

After discovery, Vi-Jon filed a motion for summary judgment
and Loughlin filed a motion for class certification. A hearing was
held on these motions on March 13, 2024. In addition, Vi-Jon has
filed motions to exclude three of Loughlin's proposed experts.
Loughlin also has filed a motion to compel discovery relating to
a longer class period than the one she asked to be certified in
her Second Amended Complaint (the "SAC").

For the reasons described in this Memorandum, the court is
denying Vi-Jon's motion for summary judgment. For the purposes of
this case, to establish a valid Chapter 93A claim, Loughlin is
required to prove that: (1) the Representation on the label of Vi-
Jon's Products was deceptive; (2) Loughlin suffered an injury; and
(3) the injury was caused by Vi-Jon's deception. The issues of
whether the Representation is deceptive and, if so, whether it
caused Loughlin to suffer any injury, are objectively evaluated
from the perspective of a reasonable consumer, not in terms of
Loughlin'’s subjective understanding and motivation.

To establish injury under Chapter 93A, Loughlin must show
that she suffered actual economic harm, distinct from Vi-Jon's

deceptive act. This element is not evaluated under an objective
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standard. Instead, Loughlin must produce evidence demonstrating
that she personally suffered actual economic harm.

Vi-Jon's Motion for Summary Judgment is being denied because
the evidence is sufficient for a reasonable jury to find that the
Germ-X label is deceptive and that, as a result, Loughlin was
enticed to buy a six-pack of Germ-X for $15.84. The jury could
also find that she is now left with two bottles that she would not
have bought had she not been misled into believing that Germ-xX
kills 99.99% of germs found on hands and, therefore, suffered
economic loss in the form of the cost of those two bottled--about
$5.30.

Loughlin's motion to certify a class, pursuant to Federal
Rule of Civil Procedure 23(a) and (b)(3), of Massachusetts
residents who purchased Germ-X between August 26, 2016 and the
filing of the original complaint on August 26, 2020 is being
denied.

Loughlin estimates that there are tens of thousands, if not
more, members of the putative class. The issues of whether the
Products! label is deceptive, and whether it caused any actual
loss suffered by a member of the class, are amenable to being
decided on a class-wide basis because they are judged from the
perspective of a reasonable consumer. However, the question of

actual loss must be decided based on facts unique to each class
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member. Vi-Jon intends to exercise its right to challenge whether
many putative class members have suffered an injury-in-fact, as
required to be included in the class. It is foreseeable that Vi-
Jon will raise thousands of plausible individual challenges.
Loughlin does not assert, and the court does not find, that there
is any fair and feasible way to resolve these challenges before
trial.. Therefore, the court does not find that "questions of law
or fact common to class members predominate over any questions
affecting only individual members" as is required to certify a
class under Rule 23(b) (3). Accordingly, Loughlin's motion for
class certification must be denied.

As this case now involves only Loughlin's individual claim,
the parties are being ordered to confer and, by May 1, 2024, report
whether they have reached an agreement to resolve this case and,
if not, propose a schedule for its continued litigation.

II. PROCEDURAL HISTORY

Loughlin filed a two-count Complaint on August 26, 2020,
alleging that Vi-Jon had deceptively labelled its Products, and
was liable for unjust enrichment and for violating M.G.L. c. 266,
§91 (Dkt. No. 1). Before Vi-Jon responded to the Complaint,
Loughlin filed an Amended Complaint (the "FAC") on November 5,

2020 (Dkt. No. 6). The FAC maintained Loughlin's unjust enrichment
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claim and alleged that Vi-Jon violated M.G.L. c. 93A, §2, rather
than M.G.L. c. 266, §91. See FAC 49112-24.

Vi-Jon moved to dismiss the FAC, arguing, among other things,
that Loughlin lacked standing and that the FAC failed to state a
claim (Dkt. Nos. 20, 21). Loughlin opposed Vi-Jon's motion (Dkt.
No. 33). On September 22, 2021, the court held a hearing on Vi-
Jon's motion to dismiss (Dkt. No. 48). The court allowed Vi-Jon's
motion to dismiss Loughlin's unjust enrichment claim but denied
its motion to dismiss Loughlin's Chapter 93A claim. See Sep. 22,
2021 Tr. 50:21-51:10 (Dkt. No. 52). Citing the First Circuit's

decision in Dumont v. Reily Foods Co., 934 F.3d 35 (1st Cir. 2019),

the court found that a reasonable consumer might be misled by the
front-label Representation into believing that Vi-Jon's Products
kill 99.99% of all germs found on hands, rather than 99.99% of
"many common harmful germs and bacteria." See Sep. 22, 2021 Hr'g
Tr. 58:3-59:24. However, the court also decided that a reasonable
consumer would only expect Vi-Jon's Products to kill germs found
on hands, rather than all germs. See id. 55:22-56:1. Therefore, it
ordered Loughlin to file a second amended complaint consistent
with that ruling. See id.

Loughlin filed her Second Amended Complaint (the "SAC") (Dkt.
No. 55). Vi-Jon filed a motion to dismiss the SAC (Dkt. No. 58),

which Loughlin opposed (Dkt. No. 60). The court denied Vi-Jon's
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second motion to dismiss, finding that it was "largely duplicative"
of its first motion to dismiss. Mem. & Order at 9 (Dkt. No. 67).

The parties filed several motions while the case was referred
to the Magistrate Judge for pretrial purposes. Loughlin filed a
motion to compel discovery (Dkt. No. 80) and a motion for class
certification (Dkt. No. 95). Vi-Jon filed a motion for summary
judgment (Dkt. No. 83) and motions to exclude plaintiffs' proposed
damages, microbiology, and survey experts (Dkt. Nos. 116, 119,
122). The court decided to address these motions itself rather
than wait to receive a Report and Recommendation from the
Magistrate Judge.

The court held a hearing on March 13, 2024 that primarily
addressed Vi-Jon's motion for summary judgment and Loughlin's
motion for class certification and motion to compel. See Order
(Dkt. No. 161). After the March 13 hearing, the parties filed
supplemental memoranda in support of their respective positions
(Dkt. Nos. 174, 175).

III. THE MOTION FOR SUMMARY JUDGMENT

A. The Summary Judgment Standard

Federal Rule of Civil Procedure 56(a) provides that the court
"shall grant summary judgment if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law." Fed. R. Civ. P. 56(a). A factual
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dispute, therefore, precludes summary judgment if it is "material"

and "genuine." See Anderson v. Liberty Lobby, 477 U.S. 242, 247-

48 (1986).
A fact is "material" if, in light of the relevant substantive
law, “it has the potential of determining the outcome of the

litigation." Maymi v. P.R. Ports Auth., 515 F.3d 20, 25 (ist Cir.

2008); see Martinez-Rodriguez v. Guevara, 597 F.3d 414, 419 (1st

Cir. 2010). "Only disputes over facts that might affect the outcome
of the suit under the governing law will properly preclude the
entry of summary judgment." Anderson, 477 U.S. at 248.

To determine if a factual dispute is "genuine," the court
must assess whether "'the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.'" Chadwick v.

WellPoint, Inc., 561 F.3d 38, 43 (lst Cir. 2009) (quoting Anderson,

477 U.S. at 248); Taylor v. Am. Chemistry Council, 576 F.3d 16, 24

(lst Cir. 2009). In making this determination, the court must
"constru(e] the record in the light most favorable to the non-

moving party." Douglas v. York Cnty., 433 F.3d 143, 149 (1st Cir.

2005). The record should not, however, be scrutinized piecemeal.

Rather, it must be "taken as a whole." Matsushita Elec. Indus.

Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). In

addition, evidence submitted in an inadmissible form may be

considered only if it could be presented in a form that would be
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admissible at trial. See Fed. R. Civ. P. 56(c) (2); Gorski v. N.H.

Dep't of Corr., 290 F.3d 466, 475-76 (1st Cir. 2002); Vazquez v.

Lopez-Rosario, 134 F.3d 28, 33 (lst Cir. 1998).

B. Chapter 93A

Chapter 93A prohibits “unfair or deceptive acts or practices
in the conduct of any trade or commerce." M.G.L. c. 93A, §2(a). A
plaintiff must establish three elements to prevail on a Chapter
93A claim: (1) a deceptive act or practice on the part of the
defendant; (2) an injury or loss suffered by the plaintiff; and
(3) a causal connection between the defendant's deceptive act or

practice and the plaintiff's injury. See Casavant v. Norwegian

Cruise Line, Ltd., 919 N.E.2d 165, 168-69 (Mass. App. Ct. 2009),

aff'd, 952 N.E.2d 908 (Mass. 2011); Hershenow v. Enterprise Rent-

A-Car Co. of Bos., Inc., 840 N.E.2d 526, 532 (Mass. 2006).

A statement "is deceptive when it has the capacity to mislead
consumers, acting reasonably under the circumstances, to act
different from the way they otherwise would have acted (i.e., to
entice a reasonable consumer to purchase the product)."™ Dumont v.

Reily Foods Co., 934 F.3d 35, 40 (lst Cir. 2019) (quoting Aspinall

v. Philip Morris Cos., Inc., 813 N.E.2d 476, 488 (Mass. 2004)).

The front packaging of a product may provide a reasonable consumer
"sufficient assurance so as to see no need to search the fine print

on the back of package." Id.; see also Williams v. Gerber Products

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Co., 552 F.3d 934, 939 (9th Cir. 2008); O'Hara v. Diageo-Guinness,

USA, Inc., 306 F.Supp.3d 441, 462 (D. Mass. 2018) (Wolf, J.), on

reconsideration, 370 F.Supp.3d 204 (D. Mass. 2019). Moreover,

advertisements "need not be totally false in order to be deemed
deceptive in the context of [Chapter] 93A." Aspinall, 813 N.E.2d
at 487. An advertisement "may consist of a half truth, or even may
be true as a literal matter, but still create an over-all
misleading impression through failure to disclose material
information." Id.

"Chapter 93A liability is decided case-by-case, and

Massachusetts courts have consistently emphasized the 'fact-

specific nature of the inquiry.’" Arthur D. Little, Inc. v. Dooyang
Corp., 147 F.3d 47, 55 (1st Cir. 1998) (citation omitted).

"Although whether a particular set of acts, in their factual
setting, is unfair or deceptive is a question of fact, the
boundaries of what may qualify for consideration as a [Chapter]
93A violation is a question of law." Id. at 54 (quoting Ahern v.
Scholz, 85 F.3d 774, 797 (ist Cir. 1996)). When it is a "close
question" whether a product label is deceptive, the First Circuit
has held that it is a question best left to a jury. Dumont, 934
F.3d at 41.

Under Chapter 93A, injury "means economic injury in the

traditional sense." Rule v. Fort Dodge Animal Health, Inc., 607

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F.3d 250, 255 (lst Cir. 2010). Paying for a product whose price
was artificially inflated by deceptive advertising is an economic

injury cognizable under Chapter 93A. See Shaulis v. Nordstrom,

Inc., 865 F.3d 1, 12 (1st Cir. 2017); O'Hara, 306 F.Supp.3d at
458. Therefore, the First Circuit has found economic injury where
a plaintiff overpaid for eyedrops due to deceptive conduct because
"CajJn out-of-pocket loss of money .. . constitutes undisputed
harm to the plaintiff .. . [because it] is the prototypical

concrete harm." Gustavsen v. Alcon Labs., Inc., 903 F.3d 1, 7, 8

(lst Cir. 2018).

However, a plaintiff's bare assertion that he or she paid a
"price premium" because a defendant engaged in deceptive conduct
does not establish a per se economic injury. Rather, a plaintiff
must demonstrate that she has "suffered a distinct injury or harm
that arises from the claimed unfair or deceptive act itself." Tyler

v. Michaels Stores, Inc., 984 N.E.2d 737, 746 (Mass. 2013). As the

First Circuit has put it, a plaintiff must show "real loss grounded
in some objective measure" to satisfy the injury requirement of a
Chapter 93A claim. Shaulis, 865 F.3d at 13. The Massachusetts
Supreme Judicial Court ("SJC") has held that the injury requirement
is also satisfied where products "did not deliver the full
anticipated and advertised benefits, and therefore were worth

less, as used or owned, than what the plaintiffs had paid."

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Bellermann v. Fitchburg Gas & Elec. Light Co., 54 N.E.3d 1106,

1112 (Mass. 2016).
"'Plaintiffs meed not show proof of actual reliance on a
misrepresentation to recover damages under [Chapter] 93A.'"

Casavant v. Norwegian Cruise Line Ltd., 952 N.E.2d 908, 912 (Mass.

2011) (quoting Iannacchino v. Ford Motor Co., 888 N.E.2d 879, 886

n.12 (Mass. 2008)). Rather, a plaintiff must show "a causal
connection between the deception and the loss and that the loss
was foreseeable as a result of the deception." Id. (quoting

Tannacchino, 888 N.E.2d at 886 n.12). Causation is established

where "the deceptive advertising 'could reasonably be found to
have caused a person to act differently from the way he [or she]
otherwise would have acted.'" Hershenow, 840 N.E.2d at 535
(alteration in original) (quoting Aspinall, 813 N.E.2d at 486).
Cc. The Facts

Unless otherwise noted, the following facts are undisputed.

Vi-Jon manufactures Germ-X. See Def. Statement of Undisputed
Material Facts ("Def. SUMF") 41 (Dkt. No. 85); Pl. Opp. to Def.
Statement of Undisputed Material Facts ("Pl. Opp. to SUMF") {1
(Dkt. No. 100). In addition to manufacturing and selling Germ-xX,
Vi-Jon manufactures store-brand and private-label hand sanitizer
products for other entities such as CVS and Walmart. See Spector

Decl. in Supp. of Mot. for Class Cert., Ex. 1 (Dkt. No. 97-1 -

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Sealed). The front label of each Germ-X bottle states, "kills
99.99% of germs*." Spector Decl. in Opp. to MSJ, Ex. B (Dkt. No.
101-2) (photograph of front label of Germ-X bottle). The back label
of each bottle states: "*Effective at eliminating more than 99.99%
of many common harmful germs & bacteria in as little as 15
seconds." Spector Decl. in Opp. to MSJ, Ex. C (Dkt. No. 101-3)
(photograph of back label of Germ-X bottle). Vi-Jon's store-brand
and private-label hand sanitizer products have the same front-
label Representation and corresponding back-label statement as
their Germ-X products. See Alisa Benson Dep. Tr. 31:17-34:10 (Dkt.
No. 97-5).

In March 2020, during the early days of the global COVID-19
pandemic, Loughlin purchased a six-pack of Germ-X on Amazon. See
Def. SUMF 92; Pl. Opp. to Def. SUMF 2. Loughlin saw the Germ-xX
front label stating "kills 99.99% of germs" when she purchased the
Germ-X. See Pl. Add'l SUMF 924 (Dkt. No. 99); Def. Resp. to Pl.
Add'1l SUMF 424 (Dkt. No. 107).3 In August 2020, Loughlin's father
asked her whether she had purchased any products manufactured by

Vi-Jon. See Loughlin Dep. Tr. 56:23-57:25; 63:3-5 (Dkt. No. 108-

3 There is no evidence concerning whether or not the back label
could be seen in the Amazon listing of the six-pack of Germ-X that
Loughlin bought. Such evidence is not, however, material to the
court's decision concerning summary judgment.

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1). Loughlin informed her father that she had purchased Germ-XxX.
See id. 56:25-57:12. Her father set up a three-way call with his
friend, Edward Manchur, an attorney. See id. 55:11-58:4. Mr.
Manchur, and counsel from KamberLaw LLP, now represent Loughlin
and seek to represent the putative class.

Loughlin testified that she stopped using Germ-X after her
counsel informed her that the Representation was false and that
Germ-X is not 99% effective. See id. 48:20-49:6; 50:5-9. Loughlin
still has two of the six bottles of Germ-X that she purchased in
March 2020. See id. 36:10-25.

At her deposition, Loughlin testified that she "would not
have purchased the Germ-X Products if she knew they only killed 70

percent or less of the germs on her hands." See id. 125:7-20.'

4 Loughlin's proffered expert Dr. Elizabeth Fortunato, a
microbiologist, opines that Germ-X kills at least 40% and at most
73% of germs found on hands. Decl. of Elizabeth A. Fortunato at 4.
Vi-Jon has moved to exclude her testimony, based on the opinion of
its expert Ian Van Trump, Ph.D. (Dkt. Nos. 119-121). Loughlin
opposes this motion (Dkt. No. 138). The parties' dispute relates
largely to the proper definition of "germs."

The First Circuit has held that because motions for summary
judgment must be decided on a truncated record, judges must be
cautious in excluding expert evidence before trial, including the
opportunity for voir dire, and do so only in the most clearcut
cases. See Cortes-Irizarry v. Corporacion Insular De Seguros, 111
F.3d 184, 188 (lst Cir. 1997). Therefore, "[rJuling on a motion
for summary judgment, the district court [is] required to assume
that any disputes of material fact—including conflicting opinions
offered by competent experts—could be resolved [in the non-moving
parties'] favor." Jones v. City of Boston, 845 F.3d 28, 32 (lst

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However, Loughlin did not testify that she would have purchased
Germ-X on different terms, or at a different price, if she had
known that it killed less than 99.99% of all germs that can be
found on hands.

Loughlin used Purell hand sanitizer before 2020, and she
resumed using Purell after she stopped using the Germ-X that she
purchased in March 2020. See id. 39:14-40:11; Def. SUMF 918; Pl.
Opp. to Def. SUMF 18. She brought bottles of Purell to her
deposition. Def. SUMF 723; Pl. Opp. to SUMF 923. Like Germ-X, the
front label of one of the Purell bottles stated, among other
things, "kills 99.99% of germs*." Def. SUMF 924; Pl. Opp. to SUMF
q24. Loughlin believes that Purell is more effective than Germ-X.
See Loughlin Dep. Tr. 63:12-64:2; 68:3-21. However, when asked at
her deposition why she believes Purell is more effective than Germ-

X, Loughlin replied, "I don't know." Id. 68:19-21. Loughlin

Cir. 2016) (emphasis added) (citing Cortes-Irizarry, 111 F.3d at
191).

This is not a clear-cut case in which the court can at this
stage find that Dr. Fortunato is not a competent expert. Therefore,
for the purpose of the motion for summary judgment, the court must
accept as true her opinion that Germ-X kills 40-73% of germs on
hands. However, the issue of whether Germ-X kills no more than 70%
of germs on hands is not material to the court's decision to deny
the motion for summary judgment. Therefore, the motion to exclude
Dr. Fortunato's evidence is being denied without prejudice to
reconsideration at trial.

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testified that she purchases Purell because, at least in part, she

"orefer[s] the smell of it." Id. 26:5-9.

D. Analysis

When viewed in the light most favorable to Loughlin, the
record contains evidence from which a reasonable jury could find
that she has been a victim of a violation of M.G.L. c. 93A, §2, by
Vi-Jon.

First, a reasonable jury could find that the Representation
is deceptive. The front-label on each of Vi-Jon's Products states
that the Product "kills 99.99% of germs*." Def. SUMF (1; Pl. Opp.
to Def. SUMF fl; Spector Decl. in Opp. to MSJ, Ex. B; Alisa Benson
Dep. Tr. 31:17-34:10. The asterisk corresponds to the more limited
representation on the back label, which states that Vi-Jon's
Products are "*[{e]ffective at eliminating more than 99.99% of many
common harmful germs & bacteria in as little as 15 seconds." See
Spector Decl. in Opp. to MSJ, Ex. C; Alisa Benson Dep. Tr. 31:17-
34:10

Neither Vi-Jon's expert, Dr. Van Trump, nor Loughlin's
expert, Dr. Fortunato, opines that Germ-X kills 99.99% of all germs
on hands. See Dkt. Nos. 97-31 (Fortunato Report); 121-4 (Van Trump
Report). There is no evidence that Germ-X in fact kills 99.99% of
all germs on hands. Therefore, the statement that it does is

inaccurate.

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A reasonable jury could also find the Representation
deceptive. As the First Circuit has held, the front packaging of
a product might provide a reasonable consumer "sufficient
assurance so as to see no need to search the fine print on the

back of the package." Dumont, 934 F.3d at 40; see also Williams,

552 F.3d at 939; O'Hara, 306 F.Supp.3d at 462.

Indeed, Loughlin has testified that she noticed the front-
label Representation prior to purchasing Germ-X, but that she did
not notice the asterisk at the end of the Representation or read
the corresponding back-label statement. See Loughlin Dep. Tr.
116:5-117:4. The fact that Germ-X is relatively inexpensive--
Loughlin paid under $16 for six bottles, see id. 78:12-20--
increases the likelihood that a reasonable consumer would not
carefully inspect the back label prior to purchasing it. Cf.
Dumont, 934 F.3d at 40 (noting that a reasonable consumer might
not inspect rear label on coffee package). Therefore, a reasonable
jury could find that the Representation is deceptive because it
"ha[d] the capacity to mislead consumers, acting reasonably under
the circumstances, to act differently from the way they otherwise
would have acted." Aspinall, 813 N.E.2d at 488.

A reasonable jury could also find that Loughlin suffered an

economic injury because she would not have purchased Germ-X had

she known that the Representation was false. Loughlin testified

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that she was concerned with contracting illnesses from hand-borne
germs. See Loughlin Dep. 123:11-124:8. She also testified that she
saw the Representation prior to purchasing Germ-X. See id. 110:14.
In addition, Loughlin testified that she stopped using Germ-X after
her counsel informed her that the Representation is false. See id.

48:20-49:6. Loughlin still has two unused bottles of Germ-X. See
id. 36:10-25. A reasonable jury could, therefore, find that
Loughlin has sustained an economic injury because she paid for two
bottles of Germ-X that she has not used since learning that Germ-

X does not deliver its "full anticipated and advertised benefits."

Bellermann, 54 N.E.3d at 1112; see also Rule, 607 F.3d at 253

(indicating that a consumer has suffered an economic injury if she
is "still holding a product that is worth less than she paid"
(emphasis in original)).

For essentially the same reasons, a reasonable jury could
find that the causation element of Loughlin's Chapter 93A claim is
satisfied because the deceptive Representation could entice a

reasonable consumer to purchase Vi-Jon's Products. See Hershenow,

840 N.E.2d at 535. This element is evaluated by an objective,
reasonable consumer standard, and Loughlin is not required to

introduce evidence of actual reliance.® See Casavant, 952 N.E.2d

5 As noted earlier, Loughlin's expert opines that Germ-X kills 40-
73% of all germs on hands and the court must accept that as true
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at 912. A jury could find that a reasonable consumer purchasing
hand sanitizer would purchase the product capable of killing the
greatest percentage of germs found on hands. Such a consumer might
also elect to purchase one of Vi-Jon's Products over an alternative
product based on the Representation's deceptive assurance that Vi-
Jon's Product "kills 99.99% of germs*." Therefore, a reasonable
jury could find that the Representation induced Loughlin to
purchase Germ-X. In other words, "the deceptive advertising 'could
reasonably be found to have caused [Loughlin] to act differently
from the way [s]he otherwise would have acted.'" Hershenow, 840
N.E.2d at 535 (quoting Aspinall, 813 N.E.2d at 486).

Vi-Jon's argument that Loughlin cannot prove causation
because she continues to use Purell, the front label of which also
states that it "kills 99.99% of germs*," is not meritorious. See
Mem in Supp. of MSJ ("MSJ Mem.") at 8 (Dkt. No. 84); Spector Decl.
in Opp. to MSJ, Ex. D (Dkt. No. 101-4) (picture of Purell bottle).
Vi-Jon erroneously assumes that Loughlin must prove actual
reliance. However, as explained earlier, the causation element of

a Chapter 93A claim is assessed by an objective, rather than

in deciding the motion for summary judgment. See supra n.4.
Although not required, Loughlin offers evidence that she actually
relied on the deceptive label, testifying that she would not have
purchased Germ-X had she known that it kills less than 70% of all
germs on hands. Loughlin Dep. 125:14-20. This too must be accepted
as true in deciding the motion for summary judgment.

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subjective, standard. See Casavant, 952 N.E.2d at 12. Loughlin is

not required to "show proof of actual reliance" on _ the

Representation. Id. (quoting Iannacchino, 888 N.E.2d at 886 n.12).

Rather, to establish causation, Loughlin need only prove that the
Representation "could reasonably be found to have caused [her] to
act differently from the way [s]he otherwise would have acted."
Aspinall, 813 N.E.2d at 486. A reasonable jury could find that
Loughlin has satisfied that burden.

In view of the foregoing, Vi-Jon has failed to demonstrate
that there are no genuine disputes of material fact and that it is
entitled to summary judgment as a matter of law. See Fed. R. Civ.
P. 56(a). Viewing the evidence in the record in the light most
favorable to Loughlin, a reasonable jury could find that she has
established all three elements of her Chapter 93A claim. See
Douglas, 433 F.3d at 149. Therefore, the court is denying Vi-Jon's
Motion for Summary Judgment

IV. THE CLASS CERTIFICATION MOTION

Pursuant to Federal Rule of Civil Procedure 23(a) and (b) (3)
("Rule 23"), in her Second Amended Complaint Loughlin seeks to
certify a class comprised of:

All consumers in Massachusetts who, within four years prior

to the filing of the initial complaint in this action,

purchased one or more of Defendant’s hand sanitizer products
(i.e., the Products).

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SAC 9119. The initial complaint was filed on August 26, 2020.
Therefore, the putative class includes people who bought Vi-Jon's
Products between August 26, 2016 and August 26, 2020.® Loughlin
also asks the court to appoint her as class representative, and to
appoint her attorneys, KamberLaw LLP and the Law Offices of Edward
L. Manchur, P.C., to serve as Class Counsel pursuant to Rule 23(qg).
See Mot. for Class Cert. at 1.

In order to certify the putative class, the court must find
that Loughlin has satisfied all of the requirements of Rule 23(a)

and (b) (3). Smilow v. Southwestern Bell Mobile Sys., Inc., 323

F.3d 32, 38 (lst Cir. 2003). Rule 23(b) (3) requires that "questions
of law or fact common to class members predominate over any
questions affecting only individual members." Therefore, "{il]n
considering the propriety of class certification in this case,

[this court must] deal with an issue that strikes at the heart of

6 In her motion for class certification, Loughlin asks the court
to certify a class of consumers who purchased the Products between
August 26, 2016, and the date a class is certified. See Mot. to
Certify Class at 1. This proposed class period is nearly twice as
long as the period proposed in the SAC. As the court stated at the
March 13, 2024 hearing, even if it were to certify a class in this
case, the court would not allow Loughlin to file a fourth complaint
amending the definition of the proposed class. See Mar. 13, 2024
Hr'g Tr. 56:12-57:2. This case has been pending for more than three
years, class discovery is complete, and Vi-Jon would be prejudiced
by any amendment. See Foman v. Davis, 83 S.Ct. 227, 230 (1962);
Calderon-Serra v. Wilmington Trust Co., 715 F.3d 14, 19 (1st Cir.
2013).

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the competing considerations raised by some class actions: the
proper treatment of uninjured class members at the class

certification stage." In re Asacol Antitrust Litig., 907 F.3d 42

(lst Cir. 2018). As discussed earlier and below, the lynchpin of
this analysis is the fact that "[p]roof of injury, also called
‘injury-in-fact,' is a required element of a plaintiff's case in
an action such as this one." Id. at 51. It is also essential to
each putative class member's standing, which is an issue Vi-Jon
did not emphasize as a basis for denying class certification. See

Transunion LLC v. Ramirez, 141 S.Ct. 2190, 2208 (2021).

In cases such as this, where the putative class is large and
foreseeably includes a non-trivial number of uninjured members,
the question of class certification has been correctly
characterized "as potentially vexing." Asacol, 907 F.3d at 58
(Barron, J., concurring). However, the First Circuit's 2018
decision in Asacol has clarified the framework for deciding such
vexing questions.

For the reasons described below, the court finds this case to
be analogous in many respects to Asacol, in which the First Circuit
found that the district court had erroneously certified the
putative class. See id. at 57-58. Therefore, the motion for class

certification is being denied.

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A. The Class Certification Standard

"The class action is 'an exception to the usual rule that
litigation is conducted by and on behalf of the individual named

parties only.'" Wal-Mart Stores, Inc. v. Dukes, 131 S.Ct. 2541,

2550 (2011) (quoting Califano v. Yamasaki, 99 S.Ct. 2545, 2557

(1979)). Therefore, "a class representative must be part of the

class and possess the same interest and suffer the same injury as

the class members." Id. at 2550 (emphasis added) (internal
quotation marks omitted). A plaintiff seeking to certify a class
"must establish the four elements of Rule 23(a) and one of the
several elements of Rule 23(b)." Smilow, 323 F.3d at 38; see Fed.
R. Civ. P. 23(a)-(b).

"Rule 23(a) requires that: (1) there be numerosity, (2) there
be common questions of law or fact, (3) the class representative's
claims be typical of the class, and (4) the representative's

representation of the class be adequate." In re New Motor Vehicles

Canadian Exp. Antitrust Litig., 522 F.3d 6, 18 (lst Cir. 2008)

(citing Fed. R. Civ. P. 23(a)). In addition, in this case Loughlin
must satisfy the requirements of Rule 23(b) (3), which states that
the court must find that "questions of law or fact common to class
members predominate over any questions affecting only individual
members" and that a class action is superior to other methods for

adjudicating the controversy. Fed. R. Civ. P. 23(b) (3).

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"(Wleighing whether to certify a plaintiff class may
inevitably overlap with some critical assessment regarding the

merits of the case." New Motor Vehicles, 522 F.3d at 17. As the

Supreme Court observed in Wal-Mart Stores, "the class

determination generally involves considerations that are enmeshed
in the factual and legal issues comprising the plaintiff's cause

of action." Wal-Mart Stores, 131 $.Ct. at 2552 (internal citations

omitted).

B. Analysis

1. Rule 23(b) (3)

a. Legal Standard

As indicated earlier, Rule 23(b) (3) requires that "questions
of law or fact common to class members predominate over any
questions affecting only individual members." Fed. R. Civ. P.
23(b) (3). "The core purpose of Rule 23(b) (3) is to vindicate the
claims of consumers and other groups of people whose individual
claims would be too small to warrant litigation." Smilow, 323 F.3d
at 41.

The "predominance inquiry tests whether proposed classes are
sufficiently cohesive to warrant adjudication by representation."

Amchem Prods., Inc. v. Windsor, 117 S.Ct. 2231, 2249 (1997). Put

differently, "(t]he aim of the predominance inquiry is to test

whether any dissimilarity among the claims of class members can be

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dealt with in a manner that is not inefficient or unfair." Asacol,
907 F.3d at 51 (internal quotation marks omitted). To aid this
analysis, Rule 23(b)(3) lists four factors that are relevant to
the predominance inquiry:

(A) the class members' interests in individually controlling
the prosecution or defense of separate actions;

(B) the extent and nature of any litigation concerning the
controversy already begun by or against class members;

(C) the desirability or undesirability of concentrating the
litigation of the claims in the particular forum; and

(D) the likely difficulties in managing a class action.
Fed. R. Civ. P. 23(b) (3) (A)-(D).

Two additional class certification requirements inform the
court's predominance analysis in this case: (1) the proposed class
must be ascertainable; and (2) all class members must demonstrate
that they have suffered an injury-in-fact.

First, as an implied prerequisite to class certification,
"the definition of the class must be '‘'definite,' that is, the
standards must allow the class members to be ascertainable.” In re

Nexium Antitrust Litig., 777 F.3d 9, 19 (1st Cir. 2015). While a

plaintiff is not required to identify every class member prior to
class certification, the court "must be able to resolve the
question of whether class members are included or excluded from

the class by reference to objective criteria." James Wm. Moore et

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al., Moore's Federal Practice §23.21(3) (a) (3d ed. 2012) (quoted

by Matamoros, 699 F.3d at 139).
Second, a plaintiff must demonstrate that each member of the
proposed class suffered an injury-in-fact as an element of both

Article III standing and a Chapter 93A claim. See Transunion, 141

S.Ct. at 2208 ("Every class member must have Article III standing
in order to recover individual damages"); Shaulis, 865 F.3d at 10-
11. A court may certify a class that contains a de minimis number

of uninjured members. See Nexium, 777 F.3d at 25. However, it may

only do so if it is satisfied that "it will [later] be possible to
establish a mechanism for distinguishing the injured from the
uninjured class members." Id. at 19. Such a mechanism must be both
"Yadministratively feasible’ and ‘protective of defendants’
Seventh Amendment and due process rights.'" Asacol, 907 F.3d at 52
(quoting Nexium, 777 F.3d at 19).
b. Analysis

For the reasons explained below, it is foreseeable that
defendants will be able to raise "plausible individual challenges"
concerning whether many of the thousands of putative class members
have suffered an injury. Asacol, 907 F.3d at 52. Loughlin has not
addressed the implications of the fact that the proposed class
likely contains many uninjured individuals. Rather, she

erroneously argues that whether each putative class member

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suffered an injury from Vi-Jon's deceptive label does not have to
be determined individually. See Pl. Supp'l Class Cert. Brief at 8
(Dkt. No. 174) (arguing that “consumers were injured at the moment
they spent money to buy the misrepresented Products"). As a result,
Loughlin has not argued, let alone proven, that there would be a
means to “adjudicate individual issues" that "will be both
‘administratively feasible’ and 'protective of defendants’ Seventh
Amendment and due process rights.'" Asacol, 907 F.3d at 52 (quoting
Nexium, 777 F.3d, at 19). The court finds that the required
individualized process of identifying and excluding uninjured
class members would predominate over questions of fact and law
common to the proposed class. Therefore, Loughlin has failed to
satisfy this essential requirement of Rule 23(b) (3).

Loughlin contends that all consumers who purchased one of Vi-
Jon's Products with the Representation that it "kills 99.99% of
germs*" have suffered an economic injury because Vi-Jon "charges
a premium due to its label Representations." Class Cert. Mem. at
24. In essence, Loughlin argues that all consumers who purchased
one of Vi-Jon's Products bearing the Representation have suffered
a per se economic injury. However, Loughlin's theory of class-wide
economic injury is not valid under current Massachusetts and First
Circuit Chapter 93A jurisprudence, which has evolved and been

clarified since the SJC decided, in 2004, the case on which

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Loughlin principally relies, Aspinall v. Philip Morris Cos., Inc.,

813 N.E.2d 476 (Mass. 2004).

Aspinall was based on the allegation that Phillip Morris had
deceptively advertised that Marlboro Lights delivered less tar and
nicotine than they in fact delivered. See id. at 481-82. In
Aspinall, plaintiffs alleged that all Marlboro Lights purchasers
suffered economic injury because defendant Phillip Morris's
deceptive advertising claims enabled it to charge more for Marlboro
Lights than it could have otherwise charged. See id. at 489.
Defendants countered that plaintiffs were required to show proof
that each class member had individually suffered economic injury.
See id. at 486, 489. Defendants argued, for example, that some
smokers might have purchased Marlboro Lights for reasons entirely
unrelated to the deceptive advertising and not suffered any injury.
See id. at 486. The SJC rejected defendants’ arguments. It held
that all class members had suffered "compensable injury" when they
purchased the deceptively advertised cigarettes, regardless of
their individual smoking habits or motivations for purchasing
Marlboro Lights. Id. at 488.

More specifically, the SJC reasoned that all buyers "were
injured when they purchased a product that, when used as directed,
exposed them to substantial and inherent health risks that were

not (as a reasonable consumer likely could have been misled into

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believing) minimized by their choice of the defendants’ 'light'
cigarettes." Id. at 488. The court found that these purchasers all
paid more than they would have paid for the Marlboro Lights if
they had not been deceived. Id. at 487. However, in a footnote,
the SJC added that "[t]he defendants' allegedly deceptive claims
should be distinguished from other statements by manufacturers

that their products deliver certain benefits (such as ‘helps to

lower cholesterol') where most consumers actually receive the
promised benefit, as may be ascertained by objective tests." Id.
at 489 n.21.

Loughlin's theory of class-wide economic injury is based on
Aspinall. She contends Vi-Jon's "false and misleading label
Representations caused uniform injury to consumers due to their
overpayment for the misrepresented Products.” Class Cert. Mem. at

21 (citing Geanacopoulos v. Philip Morris USA Inc., No. 98-6002-

BLS1, 2016 WL 757536, at *15 (Mass. Super. Feb. 24, 2016)). In
essence, Loughlin argues that all consumers who purchased Vi-Jon's
Products bearing the Representation suffered a per se economic
injury.

Since deciding Aspinall, the SJC "moved away from such a 'per
se'" conception of injury, or at least clarified it. Rule, 607

F.3d at 254; see also Shaulis, 865 F.3d at 7-8. Starting in 2006

with Hershenow v. Enterprise Rent-A-Car, in 2006, the SJC has

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repeatedly emphasized that proof of deceptive advertising or
conduct alone does not establish the existence of a per se injury.

See Hershenow, 840 N.E.2d at 533. Rather, a plaintiff "must

demonstrate that even a per se deception caused loss." Id. at 533;

see also id. at 535 ("A consumer is not[] entitled to redress under

G.L. ¢c.93A[] where no loss has occurred."). As the First Circuit
wrote in Shaulis, "([t]o state a viable claim, the plaintiff must
allege that she has suffered an ‘identifiable harm' caused by the
unfair or deceptive act that is separate from the violation

itself." Shaulis, 865 F.3d at 10; see also Tyler v. Michaels

Stores, Inc., 984 N.E.2d 737, 746 (Mass. 2013) (same).

The First Circuit's decisions in Rule and Shaulis illuminate
the nature of this requirement. In Rule, a plaintiff alleged that
she suffered an economic injury when she purchased a canine
heartworm medication that presented undisclosed risks. See Rule,
607 F.3d at 251. Like Loughlin, Rule alleged that the heartworm
medication was "worth less than she paid for it," and she requested
damages "measured by the difference between what she paid and what
she would have paid if the risk had been disclosed." Id. at 253.
The First Circuit rejected this theory of injury. See id. at 253,
255. If Rule had not yet administered the medication, the court
reasoned, she might have been able to establish injury by

demonstrating that she was still holding a product worth less than

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what she paid for it. See id. at 253. However, since Rule had
administered the medication without incident, she received "both
the protection and convenience she sought" without suffering any
of the undisclosed risks. See id. at 253. Therefore, the First
Circuit held that she did not suffer any loss. Id. at 255.

Unlike Rule, Loughlin "is still holding [] product[s]"--two
bottles of Germ-X--that she contends are "worth less than she
paid." Id. at 253 (emphasis in original). She has consequently
provided evidence from which a reasonable jury could find that she
has suffered an economic injury. See supra section III.D. However,
the same is unlikely to be true for many putative class members.
The proposed class is comprised of at least tens of thousands of
individuals who purchased Vi-Jon's Products 3.5 to 7.5 years ago.
See SAC 7119. Many, if not most, of these individuals have likely
used and disposed of the Products they purchased during the
proposed class period. If they used those Products without
contracting an illness from a hand-borne germ, they obtained "the
protection and convenience [they] sought" and the risk from the
fact that Germ-X does not kill 99.99% of germs "did not manifest
itself in an injury” to them. Rule, 607 F.3d at 253. In addition,
individuals who used all of the Germ-X they purchased no longer
have a product that Loughlin contends is worth less than they paid.

See id. at 253. Rule indicates that these putative class members

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have not suffered any injury--an essential element of a Chapter
93A claim.

This conclusion is consistent with Aspinall in which, as
explained earlier, the SJC wrote that "[t]he defendants’ allegedly
deceptive claims should be distinguished from other statements by
manufacturers that their products deliver certain benefits (such
as "helps to lower cholesterol") where most consumers actually
receive the promised benefit, as may be ascertained by objective
tests." Aspinall, 813 N.E.2d at 489 n.21. In this case, it is
undisputed that Germ-X kills at least some germs on hands. There
is no evidence that it does not kill the COVID-19 virus. Therefore,
any putative class member who used all of the Germ-X he or she
purchased and did not get COVID-19 or any other disease caused by
germs on his or her hands would be similarly situated to Rule and,
as in the Aspinall example, have received the benefit Vi-Jon
promised.

This case is also analogous to Shaulis. In Shaulis, the
plaintiff alleged that she had suffered economic injury after
purchasing a deceptively advertised sweater at Nordstrom Rack. See
Shaulis, 865 F.3d at 5. The sweater's price tag listed its sales
price as $49.97 and a "Compare At" price of $218. See id. at 5.
Shaulis alleged that the "Compare At" price falsely implied that

a retailer had previously sold the sweater for $218, although

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Nordstrom in fact sold many garments that were manufactured "for
exclusive sale at its Nordstrom Rack stores." Id. at 5. Shaulis
alleged that she had suffered an injury "because she was 'induced'
to make a purchase she would not have made, but for the false sense
of value created by Nordstrom's pricing scheme." Id. at 10. The
First Circuit rejected this theory, stating that Shaulis had
improperly "merge[d] the alleged deception with the injury" by
"attempting to plead an assertion about [her] disappointed
expectations of value in place of an allegation of real economic
loss." Id. at 11 (emphasis added). Absent any proof that the
sweater itself was "deficient in some objectively identifiable
way," Shaulis had failed to prove that she had suffered an economic
injury because she “arguably got exactly what she paid for, no
more and no less." Id. at 12.

As in Shaulis, Vi-Jon asserts that many putative class members
also got what they paid for and, therefore, did not suffer any
injury. Specifically, Vi-Jon argues that many consumers purchased
its Products to kill the COVID-19 virus--a virus that, Vi-Jon
maintains, its Products "indisputably" kill, see Opp. to Class
Cert. at 13-15--and "not because of the alleged understanding that
[the Products] will kill 99.99% of all germs that can be found on

hands." Id. at 20, 21.

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Vi-Jon's contention is correct. Because Massachusetts courts
do not now employ the per se theory of economic injury on which
Loughlin relies, in the circumstances of this case she must
demonstrate that each putative class member suffered a "separate,
identifiable harm" caused by, and distinct from, the deceptive
Representation. See Tyler, 984 N.E.2d at 746.’ That is, Loughlin
must demonstrate that each putative class member suffered "real
loss grounded in some objective measure." Shaulis, 865 F.3d at 13.

In view of the COVID-19 pandemic, it is plausible that many
putative class members purchased Vi-Jon's Products to kill the
COVID-19 virus and not because they expected the Products to kill

99.99% of all germs found on hands. See, e.g., Piescik v. CVS

Pharmacy, Inc., 576 F.Supp.3d 1125, 1133 (S.D. Fla. 2021) (stating

that "in March 2020, [] consumers were desperately trying to
purchase whatever hand and other cleaning Products they could
find"). Vi-Jon has provided evidence that its Products are highly
effective at killing the COVID-19 virus. See Opp. to Class Cert.

at 2; Van Trump Report at 25-26 (Dkt. No. 118-4). Loughlin has not

7 Moreover, "[e]very class member must have Article III standing
in order to recover individual damages. Article III does not give
federal courts the power to order relief to any uninjured
plaintiff, class action or not." Transunion, 141 S.Ct. at 2208
(internal quotation marks and citation omitted).

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offered evidence to dispute this assertion.® See, e.g., Decl. of
Elizabeth A. Fortunato (Dkt. No. 97-2) (opining on germs that
alcohol-based hand sanitizer cannot effectively kill without
mentioning the COVID-19 virus). The court, therefore, finds that
Vi-Jon's Products effectively kill the COVID-19 virus.

A consumer who purchased Vi-Jon's Products primarily or
exclusively to kill the COVID-19 virus has, therefore, "received
everything they had bargained for," Shaulis, 865 F.3d at 11, as
well as the "protection and convenience" that he or she sought,
Rule, 607 F.3d at 253. There is no evidence that any such consumer
has suffered "real economic loss," as a result of getting COVID-
19 or any other disease caused by germs on hands after using the
Products, as required to satisfy the injury element of a Chapter

93A claim. See Shaulis, 865 F.3d at 11. Moreover, since the

proposed class includes the first five to six months at the
beginning of the COVID-19 pandemic, it likely includes a
substantial number of uninjured members who purchased Vi-Jon's
products primarily or exclusively to kill the COVID-19 virus. See

Piescik, 576 F.Supp.3d at 1133.

8 Loughlin has stated that "there are no facts before the Court
that the Germ-X Products kill the COVID-19 virus." Pl. Opp. to
Def. SUMF 916. However, she has not moved to exclude Van Trump's
opinion providing evidence that Germ-X is effective at killing the
COVID-19 virus. Moreover, Loughlin has not offered evidence that
Germ-X does not effectively kill the COVID-19 virus.

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Nevertheless, the court may certify a class containing a de
minimis number of uninjured members if there is an administratively
feasible mechanism for identifying and excluding them from the

class before trial. See Asacol, 907 F.3d at 52. Loughlin has not

proposed any such mechanism because she erroneously relies on a
per se theory of injury and asserts that the proposed class does
not contain any uninjured members. See Class Cert. Mem. at 3, 25.
Rather, as explained earlier, she argues that "consumers were
injured at the moment they spent money to buy the misrepresented
Products." Pl.'s Supp'l Brief at 8. The court could deny Loughlin's
motion for class certification on this basis alone.

However, the court has considered whether it would be possible
to identify and exclude uninjured class members by modifying
Loughlin's proposed method for ascertaining who is in the putative
class. Loughlin contends that class membership can be ascertained
by reviewing the business records of Vi-Jon and its third-party
sellers, and through self-identification and consumer attestation.
See Class Cert. Mem. at 17; Pl.'s Supp'l Brief at 5. However,
business records will not show whether the purchaser still has the
purchased Product. See Rule, 607 F.3d at 253. Nor will they show
whether the purchaser did not get the protection he or she paid

for. See Shaulis, 865 F.3d at 12-13. It would, therefore, be

necessary to rely on consumer affidavits to determine whether

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putative class members suffered an injury-in-fact. See Class Cert.
Mem. at 17; Nexium, 777 F.3d at 20.
The First Circuit has held that injury can be established by

unrebutted testimony or affidavits. See Asacol, 907 F.3d at 52;

Nexium, 777 F.3d at 20-21. Loughlin estimates that there will be
tens of thousands of class members, if not more. See Class Cert.
Mem. at 2. The court may not deny Vi-Jon the right to litigate its
defenses against the claims of each putative class member. See

Asacol, 907 F.3d at 54; Wal-Mart Stores, 131 $.Ct. at 2561. Vi-

Jon has stated its intent to challenge any affidavits that Loughlin
proposes to use to establish that a consumer suffered an injury-
in-fact and, therefore, is a member of the proposed class. See
Opp. to Class Cert. Mem. at 21. Therefore, it is foreseeable that
vi-Jon will raise plausible, potentially meritorious, individual
challenges concerning whether thousands of putative class members
used all of the Product(s) they purchased without contracting
COVID-19 or any other disease that could be caused by germs on
hands and, as a result, received the benefit of their bargain
without incurring any economic loss.

As indicated earlier, the requirement of individualized proof
of injury will not always defeat a motion for class certification.
See Asacol, 907 F.3d at 60 (Barron, J., concurring). If the inquiry

only involves a de minimis number of potentially uninjured class

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members, class certification may be appropriate. Id. (citing
Nexium, 777 F.3d at 21). However, the court now finds that in view
of the foreseeable very large number of plausible challenges to an
essential element of a valid Chapter 93A claim, individual issues
will overwhelm common ones. Id. (citing Nexium, 777 F.3d at 21).
Therefore, Loughlin has failed to satisfy the predominance

requirement of Rule 23(b) (3).

2. Rule 23 (a)

The court must deny Loughlin's motion for class certification
because she has not satisfied Rule 23(b)(3)'s predominance

requirement. See Smilow, 323 F.3d at 38. Nevertheless, in the

interest of completeness, the court has also conducted a Rule 23(a)
analysis. The proposed class satisfies Rule 23(a)'s numerosity
requirement. The court also concludes that Loughlin would be a
minimally adequate class representative, if the court were to
certify a class. However, because the class likely contains a
substantial number of uninjured class members, it does not satisfy

Rule 23(a)'s commonality or typicality requirements.

a. Numerosity

Rule 23(a)(1)'s numerosity requirement is usually satisfied

if the proposed class contains over 40 members. See DeRosa v.

Massachusetts Bay Commuter Rail Co., 694 F.Supp.2d 87, 98 (D. Mass.

2010) (Wolf, J.); see also § 3:12, 1 Newberg and Rubenstein on

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Class Actions §3:12 (6th ed.) ("{[A] class of 40 or more members

raises a presumption of impracticability of joinder based on
numbers alone."). As noted earlier, Loughlin asserts that "[t]he
proposed class includes at least tens of thousands of purchasers
of Defendant's relatively low-cost Products." Class Cert. Mem. at
11. Vi-Jon does not dispute this claim. Therefore, the proposed

class satisfies Rule 23(a)(1)'s numerosity requirement.

b. Commonality and Typicality

Rule 23(a) (2) requires that there be "questions of law or
fact common to the class" and Rule 23(a)(3) requires that "the

claims or defenses of the representative parties [be] typical of

the claims or defenses of the class." The commonality and
typicality analyses "tend to merge," since "[b]Joth serve as
guideposts for determining whether . . . the named plaintiff's

claim and the class claims are so interrelated that the interests
of the class members will be fairly and adequately protected in

their absence.” Gen. Tel. Co. v. Falcon, 102 S.Ct. 2364, 2370 n.13

(1982).
To satisfy the commonality requirement, a plaintiff must
"demonstrate that the class members ‘have suffered the same

injury.'" Wal-Mart Stores, 131 S.Ct. at 2551 (quoting Falcon, 102

S.Ct. at 2370). As the Supreme Court wrote in Wal-Mart Stores:

What matters to class certification . . . is not the raising
of common "questions"—even in droves—but rather, the capacity

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of a class-wide proceeding to generate common answers apt to
drive the resolution of the litigation. Dissimilarities
within the proposed class are what have the potential to
impede the generation of common answers.

Id. (quoting Richard A. Nagareda, Class Certification in the Age

of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)).

Similarly, to satisfy the typicality requirement, the class
representative's claims must "arise from the same event or practice
or course of conduct that gives rise to the claims of other class

members, and are based on the same legal theory." Garcia-Rubiera

v. Calderon, 570 F.3d 443, 460 (lst Cir. 2009) (internal quotation

marks and alterations omitted) (quoting In re Am. Med. Sys., Inc.,

75 F.3d 1069, 1082 (6th Cir. 1996)); see also 1 Newberg and

Rubenstein on Class Actions, §3.29 (6th ed.) ("(T)ypicality

determines whether a sufficient relationship exists between the
injury to the named plaintiff and the conduct affecting the class
so that the court may properly attribute a collective nature to
the challenged conduct.”").

Three issues of law and fact are common to the proposed class.
First, all members of the proposed class were exposed to the same
Representation on Vi-Jon's Products. See Mot. for Class Cert. at
1. Second, under Massachusetts law, the jury will determine whether
the Representation is deceptive by applying an objective,

reasonable consumer standard. See Dumont, 934 F.3d at 40. Third,

the jury will also apply an objective, reasonable consumer standard

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when assessing the causality element of Loughlin's Chapter 93A

claim. See Casavant, 952 N.E.2d at 912. Because both of these legal

issues are analyzed under an objective, reasonable consumer
standard, they are susceptible to common proof and can be resolved
on a class-wide basis.

The court nevertheless finds that Loughlin has not satisfied
Rule 23(a)'s commonality and typicality requirements because, as
discussed with regard to the Rule = 23(b) (3) predominance
requirement, it is likely that a substantial number of putative
class members have not suffered an economic injury. Therefore,
Loughlin has failed to demonstrate that all class members "have

suffered the same injury." Wal-Mart Stores, 131 S.Ct. at 2551;

Falcon, 102 S.Ct. at 2370. Similarly, Loughlin is not “typical” of
putative class members who have not suffered any injury, since
these members do not have viable Chapter 93A claims against Vi-

Jon. See Garcia-Rubiera, 570 F.3d at 460.

c. Adequacy

Rule 23(a) (4) requires that "the representative parties will
fairly and adequately protect the interests of the class." Fed. R.
Civ. P. 23{a) (4). "Class representatives are not required to have
‘expert knowledge' about the case, and may rely heavily on class

counsel for guidance." In re Dial Complete Mktg. & Sales Pracs.

Litig., 312 F.R.D. 36, 55 (D.N.H. 2015) (citing In re Relafen
bitig.

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Antitrust Litig., 231 F.R.D. 52, 69 (D. Mass. 2005) (Young, J.)).

"RA perceived lack of subjective interest is ordinarily
insufficient to disqualify proposed class representatives." Id. at
55 (internal quotation marks omitted). However, an adequate class
representative must be able to protect the interests of the class
from possible conflicts with class counsel and not abdicate control

of the case to their attorneys. See Kirkpatrick v. J.C. Bradford

& Co., 827 F.2d 718, 728 (11th Cir. 1987) (noting that class
certification has properly been denied "where the class
representatives had so little knowledge of and involvement in the
class action that they would be unable or unwilling to protect the
interests of the class against the possibly competing interests of

the attorneys"); cf. In re Tyco Int'l, Ltd., No. MD-02-1335-PB,

2006 WL 2349338, at *2 (D.N.H. Aug. 15, 2006) ("The adequacy
requirement is satisfied ‘unless the class representatives’
participation is so minimal that they virtually have abdicated to

their attorneys the conduct of the case.'" (quoting Kirkpatrick,

827 F.2d at 728)).
The First Circuit utilizes a two-part inquiry to determine if

a class representative is adequate. See Andrews v. Bechtel Power

Corp., 780 F.2d 124, 130 (lst Cir. 1985). First, the court must
determine whether there is a potential for conflict between the

interests of the representative party and any of the class members.

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See id. "Only conflicts that are fundamental to the suit and that
go to the heart of the litigation prevent a plaintiff from meeting

the Rule 23(a) (4) adequacy requirement." Matamoros v. Starbucks,

Corp., 699 F.3d 129, 138 (lst Cir. 2012) (quoting 1 Newberg and

Rubenstein on Class Actions §3:58 (Sth ed.)}. Second, the court

must determine whether there is an assurance of vigorous

prosecution of the action. See Andrews, 780 F.2d at 130. A

plaintiff may satisfy this requirement by demonstrating that the
proposed class counsel is "qualified, experienced and able to
vigorously conduct the proposed litigation." Id. at 130.

Although the court has two concerns about whether Loughlin is
willing and able to serve as an adequate class representative, it
finds that Loughlin would be a minimally adequate representative
of the putative class. First, one of Loughlin's attorneys, Mr.
Manchur, is a friend of her father's. See Loughlin Dep. Tr. 55:11-
58:4. This friendship led to Loughlin becoming the plaintiff in
this case. See id. 56:19-58:11. Loughlin's father's relationship
with Mr. Manchur might make it difficult for her to advocate for
the interests of the class if they conflict with the interests of
class counsel concerning, for example, what percentage of any
common fund should be awarded to class counsel if a class were
certified and resulted in a common fund to be divided between class

members and their counsel. See, e.g., Arkansas Tchr. Ret. Sys. v.

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State St. Bank & Tr. Co., 512 F. Supp. 3d 196, 235 (D. Mass. 2020),

aff'd in part, appeal dismissed in part sub nom. Arkansas Tchr.

Ret. Sys. v. State St. Corp., 25 F.4th 55 (lst Cir. 2022).

Second, the court ordered Loughlin to be present at the March
13, 2024 hearing. See Feb. 29, 2024 Order (Dkt. No. 161). However,
she stated that she was unable to do so because of a prior work
commitment, see Mot. to Waive Pl.'s Appearance (Dkt. No. 167), and
was excused, see Mar. 12, 2024 Order (Dkt. No. 171). The fact that
Loughlin has been seeking to represent a putative class but was
unwilling to miss a day or two of work for the sole hearing at
which her presence was ordered causes the court to be concerned
that she does not understand that she cannot abdicate the conduct

of this case to her counsel. See Kirkpatrick, 827 F.2d at 728.

Nevertheless, neither of these concerns cause the court to
conclude that "fundamental" conflicts of interest would exist

between Loughlin and members of the proposed class. See Matamoros,

699 F.3d at 138; see also Natchitoches Par. Hosp. Serv. Dist. v.

Tyco Int'l, Ltd., 247 F.R.D. 253, 265 (D. Mass. 2008) (Saris, J.)

(noting that "speculative conflict should be disregarded at the
class certification stage"). In addition, Loughlin's counsel has
extensive experience litigating consumer protection class actions
and deceptive marketing claims. See Spector Decl. in Supp. of Mot.

for Class Cert., Exs. 29, 30 (Dkt. Nos. 97-29, 97-30). The court

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finds that proposed class counsel are qualified and "able to
vigorously conduct the proposed litigation." Andrews, 780 F.2d at
130. In view of the foregoing, the court finds that Loughlin would
satisfy Rule 23(a) (4)'s adequacy requirement. However, this issue
is moot because the proposed class is not being certified.

Vv. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. Vi-Jon's motion to exclude plaintiff's microbiology expert
(Dkt. No. 119) is DENIED.

2. Vi-Jon's motion for summary judgment (Dkt. No. 83) is
DENTED.

3. Loughlin's motion for class certification (Dkt. No. 95) is
DENIED.

4. Loughlin's motion to compel defendant to produce discovery
(Dkt. No. 80) is DENIED as moot, and, in any event, is
unmeritorious.

5. Vi-Jon's motion to exclude plaintiff's damages expert
(Dkt. No. 116) is DENIED as moot.

6. Vi-Jon's motion to exclude plaintiff's survey expert (Dkt.
No. 122) is DENIED as moot.

7. Loughlin shall, by April 16, 2024, report whether she has,
pursuant to Fed. R. Civ. P. 23(e), petitioned the First Circuit

for permission to appeal the denial of her motion for class

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certification. If Loughlin has not sought permission to appeal,
the parties shall confer and, by May 1, 2024, report whether they
have reached an agreement to resolve this case. If they have not,
they shall then propose a schedule for litigating it to a

conclusion. The case is otherwise STAYED.

Cd SYATES DISTRICT JUDGE (

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